Case 2:21-cv-00422 Document 1-1 Filed 01/15/21 Page 1 of 14 Page ID #:8




            EXHIBIT “A”
cVonically FILED by Superior Court of Califomia, County of Los Angeles on 07/08/20~Q,Q¢;Q~ ~Jv1 Shgrri R. Carter, Executive Offlcer/Clerk of.Court, by T. Paez,Deputy Clerk
                           Case 2:21-cv-00422 Document 1-1 Filed 01/15/21 Page 2 of 14 Page ID #:9

                                                       o7lliNlMONS
                           (!'slTA!'rl®,n! ollJ®IC(AL)
         NOTIGE TO DEFENDANT:
         (AVJSO AL DEAJIANDADO):
         Dollar Tree Stores, Inc. and Does 1 to 50


        Y®l! ARE BEiNG SUED BY PLAINT(IFF:
        (L® ESTA DgMA11iDANDO FL DEmANDANTE):
         Anthony Pierce


          nfoTlCEI You have been sued. The court may decide against you without yourbeing heard
                                                                                                unless you respond within 30 days. Read the information
          below.
            You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response
          served on the plalntiff. A letter or phone calt will not protect you. Your written response must be in proper              at this court and have a copy
                                                                                                                        iegal form if you want the court to hear your
          case. There may be a court form that you can use for your response. You can find these court forms and more
          Online Seif-Help Center (www.courtinfo.ca.gov/seNhelp), your county law library, or the courthouse nearest           informafion at the Califomia Courts
                                                                                                                          you. If you cannot pay the filing fee, ask
          the court clerk for a fee waiver form. lf you do not file'your response on time, you may lose the case by default,
                                                                                                                               and your wages, money, and property
         may be taken without further waming from the court.
             There are other legal requirements. You may want to cail an aftomey right away. lf you do not know an attomey, you may
         referral service. If you. cannot afford an attomey, you may be eilgibie for free iegal services from a nonprofit legal services      want to eall an attomey
         these nonprofit groups at the Caiifornia Legal Services Web site (www.lavilielpcalifomia.org), the Califomia
                                                                                                                                           program.   You can locate
                                                                                                                          Courts Online Self-Help Center
         (www.courtinfo.ca.gov/selfhelp), or by contacting your iocal court or county bar association. NOTE: The court has a statutory lien
         costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the
                                                                                                                                                   for waived fees and
                                                                                                                                        court.will dismiss the case.
         IAV/S0l Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su versPdn. Lea la
         continuacl6n.
                                                                                                                                                       fnformacl6n a
            Tiene 30 DlAS DE CALENDARIO despu6s de que le entreguen esta citaci6n y papeles legales para presentar una respuesta por escrito esta
         con`,e y hecer que se entregue una copia al demandante. Una carta o una llamada telefdnica no lo protegen. Su respuesta por
                                                                                                                                                              en
                                                                                                                                               escrito tiene que estar
         en fonnato legal correcto si desea que procesen su. caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
         Puede encontrar estos formularios de la corte y m6s informaci6n on el Centro de Ayuda de las Corfes de Callfomla (w.sucorte.ca.gov),
                                                                                                                                      ow✓                    e'n la
         biblioteca do leyes de su condado o en la corte que le quade mas t:erca. Sf no puede pagar la ouota de presentacf6n, pida al secretano de la corte
         que le d6 un formulario de exencl6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incum"plimlento y la corte le
         podrbi quitar su sueldo, dinero y blenes sin mas adven'encia.
           Hay otros requlsitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un servicio de
         remisi6n a abogados. Si no puede pagar a un abogado,, es posible que cumpla con los requisitos para obtener servicfos legales gratuitos de un
         programa de sen✓icios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio: uveb de Califomia Legal Services,
         (www.lawhelpcal'rfomia.org), en el Centro de Ayuda de las Cottes de Califomia, (www.sucorte.ca.gov) o poniendose en contacto con,la corte o el
         colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotes y 1os costos exentos por irnponer un gravamen sobre
         cuaiquler recuperacibn de $?0, 000 6 m3s de valor recibida mediante un acuerdo o una concesi6n de arbitreje en un caso de derecho civA. Tiene que
         pagar el gravamen de la corte antes de que la corte. pueda desechar e/ caso.
       The name and address of the court is:                                                                               CASE NUMeER:
       (El~,o~nbr~                                                                                                         (Nilmero de! Caso):
                                           co e e~'
        Mic ae ~dir~cntoIIoi+1Cah .~nte ope Valley Courthouse                                                                              ~
       42011 4th Street tiVest
       Lancaster, CA 93534
       The name, address, and teiephone number of piaintiffs attorney, or piaintiff without an aftomey, is:
       ~oriat~r~' ~oibal0ntyr5nqu~, ,~e ~eU~de! abogado de! demandante, o~310g45~d~nt~~ue no tiene abogado, es):
       Law Offices of Ronald Fomalont                                                                                 4
       5850 Canoga Ave Ste 400, Woodland Hills, CA 91367                                          Sherri R. Carter Executive Officer I Clerk of Court
       DATE:                                                                                 Cierk, by                                             , Deputy
       (Fecha)       071i 0$12 020                                                           (secretario)               T. P a@Z                    (Adjunto)
       (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
       (Para prueba de.entrega de.esta citati6n use et formulario Proof of Service of Summons, (POS-090)).
                                                NOTICE TO THE PERS®N SERVED: You are served
                                                1.     as an individual defendant.
                                                2.     as the person sued under the fictitious name of (specify):


                                                3. 0        on behalf of (specify):

                                                     under.            CCP 416.10 (corporation)                0                      CCP 416:60 (minor)
                                                              0        CCP 416.20 (defunct corporation)        0                      CCP 416.70 (conservatee)
                                                              [~       CCP 416.40 (association or partnership) 0                      CCP 416.90 (authorized person)
                                                             =      other (specify):
                                                4. L_j      by personai deiivery on (date):
                                                                                                                                                                            Page 1 of 1
        Fortn Adoptod for Mandatory Use                                              C                                       .                    Code of Civil Prooeduro §§ Al2.20, 485
          Judicial Councit of CeBfomia                                               v'UMM®NS
                                                                                                                                                                      ,,,   ,N CA,.3,gov
          SUM-100 [Rev. July 1, 20091
                                                                              20AVCV00466
                    Case 2:21-cv-00422 Document 1-1 Filed 01/15/21 Page 3 of 14 Page ID #:10
                               Assigned for all purposes to: Michael Antonovich Antelope Valley Courthouse, Judicial Officer. Wendy Chang
                                                                                                                                            PLD-PI-001
A ORNEy          PAR'ry wITH UT AT7   NEY (Na       afe Aar mnber and address):
 ~Rona~r~ J. Fomalont,~sq., S~~N: 10~700
  Law Offices of Ronald Fomalont
  5850 Canoga Ave Ste 400
  V`loodland 1?[ills, CA 91367
            TEU_PHONE NO: (310)459_9400                           FAx No. (op6oneR:(818)992-613 8
E-MNLADDRES8 (OpGonal}: 1tiW@folTlalollt.Coln
  AITORNEY FOR (Neme)-. Anthony Piercf'+
SUPERIOR COURT OF CALiFORNIA, COUNTir OF                       Los Angeles
         sTRFEr ADDREss: 42011 4th Street West
         MvuNCADDREss: 42011 4th Street West
        CITY AND ZIP CODE Lancaster, 93534
               BRANCH NAME:   Michael D. Antonovich Antelope Valley Courthouse
               PLAINTIFF:Authony Pierce

            DEFENDANT: Dollar Tree StoreS, Tllc. aIld

~ DOES 1 TO 50
COMPLAIN7Persanai injury, Property Damage, Wrorigful Death
           F---,l AMENDED (Number):
Type (check aff that apply):                                                                               FSC: 9/1/2021
~    MOTOR VEHICLE          ~               OTHER (specify):                                               TRIAL: 9/10/2021
    0     Property Damage                   0  Wrongful Death                                              OSC: 7/10/2023
           ®      Personal Injury               =     Other ®amages (specify):
                                                                                                           cASE Nu"naER:
Jurisdiction (check aD that apply):
0    ACTION 15 A LIMITED CIVIL CASE
     Amount demanded 0           does not exceed $10,000
                            =    exceeds $10,000, but does notexceed $25,000                                 2 CLAV OV               0 04 6 6
®          ACTION IS AN UNLIMITED CMLLCASE (exceeds $25,000)
~]         ACTION IS RECLASSIFIED by this amended complaint
           ~      from limited to unlimited
           0      from unlimited to limited
1. PlaintifF (name ornames):Anthony Pierce
     alleges causes of action against defendant (name or names):
     Dollar 'I'ree Stores, Inc. and Does 1 to 50
                                                                of the following            number of pages: 4
2. This pleading, including attachments and exhibits, consists
3. Each plaintiff named above is a competent adult
   a. =     except plaintiff (name):
            (1)        a corporation qualified to do business in Califomia
            (2) []     an unincorporated enfity (describe):
             (3)       a public entity (describe):
             (4) []    a minor =        an adult
                                                                                                                  has been appointed
                               (a)        for whom a guardian or conservator of the estate or a guardian ad litem
                               (b) 0     other (specify):
                   (5)         other (specify):
      b.           except plaintiff (name):
                   (1)      a corporation qualified to do business in Califomia
                   (2)      an unincorporated entity (describe):
                   (3) 0    a public entity (describe):
                   (4)      a minor 0        an adult
                                                                                                              ad litem has been appointed
                               (a)         for whom a guardian or conservator of the estate or a guardian
                               (b) C] other (specfiy):
                    (5)        other (specify):

                                                                                      is shown in Attachment 3.                                        Pa9e 1 or s
      ®          Information about additional plaintifrs who are not competent adults
                                                                                                                                  Code ot Civil Procedure, § 425.12
     Form Approved tor OptFonel Use                    COMPLAINT-=Personal Injury, Property                                                   winy.ccartinfo.ca.gov
       Judicial Counca o1 Carifomia                             Damag e, Wrongful Death
    PLD-PI-001 IRev. January 1, 2007]
                    Case 2:21-cv-00422 Document 1-1 Filed 01/15/21 Page 4 of 14 Page ID #:11

                                                                                                                                PLD-PI-001
  SHORT TITL.E:                                                                                    cAse rounneER:
Pierce v. Dollar Tree Stores                                                                       2 GAV C V 0 0 4 6 6
4. C] Plaintiff (name):
      is doing business under the fictitious name (specify):

        and has complied with the fictitious business name laws.
5. Each defendanf named above is a natural person
     a. ®        except defendant (name): Dollar Treee Stores, lnc.      c. 0     except defendant (name):
                 (1) =        a business organization, form unknown               (1) 0    a business organization, form unknown
                 (2) ®        a corporation                                       (2)      a corporation
                 (3) 0        an unincorpora.ted entity (describe):               (3) 0    an unincorporated entity (describe):

                 (4) =        a public entity (describe):                         (4) 0     a public entity (describe):

                 (5) =        other (specify):                                    (5) =     other (specify):




     b. 0        except defendant (name):                                d. =     except defendant (name):
                 (1) [~ a business organization, form unknown                     (1) [~ a business organization, form unknown
                 (2) 0    a corporation                                           (2)      a corporation
                 (3) 0    an unincorporated entity (describe):                    (3) 0    an unincorpor-ated entity (describe):

                 (4) =         a public entity (describe):                       (4) 0      a public entity (describe):

                 (5) 0         other (specify):                                   (5) Q     other (specffy):


     ~        information about additional defendants who are not natural persons is contained in Attachment 5.
6.     The true names of defendants sued as Does are unknown to plaintifP.
       a. ®         Doe defendants (specify Doe numbers): 1 t0 10                            were the agents or empl.oyees of other
                    named defendants and acted within the scope of that agency or employment.
       b. ®         Doe defendants (specify Doe numbers): 11 to 50                       are persons whose capacities are unknown to
                  plaintiff.
7.    =        Defendants who are joined under Code of Civil Procedure section 382 are (names):




       This court is the proper court because
       a. =     at least one defendant now resides in its jurisdictional area.
       b. =     the principal place _of business of a defendant corporation or unincorporated association is in its jurisdictional area.
       c. ®     injury to person. or damage to personal property occurred in its jurisdictional area.
       d. 0          other (specify):



9.     0    Plaintiff is required to comply with a claims statute, and
       a,       has complied with applicable claims statutes, or
       b. 0     is excused from complying because (specify):




PLD-PI-001 [Rev. January 1, 20073                     COMPLAINTPersottal    Injury, Pe•operty                                          Pase 2 or 3
                                                             Dam.age, Wrongfui Death
                   Case 2:21-cv-00422 Document 1-1 Filed 01/15/21 Page 5 of 14 Page ID #:12

                                                                                                                                  PLD-PI-00i
SNORT T►TLE:                                                                                      casE NUMeER:

Pierce v. Dollar Tree Stores                                                                         2 GA V CV 0 0 4 6 6
10- The following causes of action are attached and the statements above apply to each (each complaint must have one or more
      causes of actfon attached):
      a.0          Motor Vehicle
      b.0          General Negligence
      c.           Intentional Tort
      d.           Products Liability
      e. ®         Premises Liability
      f. =         Other (specify):




11. . Plaintiff has suffered
      a. ®       wage loss              —
      b.C] loss of use of property
      c. ®       hospital and medical expenses
      d. ®       general damage
      e. =       property damage
      f. ®       loss of earning capacity
      g. =       other damage (specify):




12.   0       The damages claim.ed for wrongful death and the relationships of plaintiftto the deceased are
      a. =       listed in Attachment 12-
      b.0        as follows:




13. The relief sought in this complaint,is within the jurisdiction of this court.



14. Plaintiff prays for,judgment for costs .of suit; for such relief as is fair, just, and eyuitable; and for
    a. (1) ®      compensatory damages
       (2) 0      punitive damages
       The amount of damages is (in cases for personal injury or wrongful death, you must check (?)):
       (1) ®      according to,proof
       (2)0 in the amount of: $
15.   0       The paragraphs of this complaint alleged on information and belief are as follows (specify paragraph numbers):




Date:

Ronald J. Fomalont, Esq., SBN: 100700
                               (TYPE OR PRINT NAME7                                         (SIGNATURE OF PWNTIFF OR A,TTORNEY)

                                                                                                                                      Page 3 of3
PLD-PI-0p1 (Rev. January 1, 20071                     C®MPLAINT--Personal llnjury, Property
                                                          Darnage, Wrongful Death
                  Case 2:21-cv-00422 Document 1-1 Filed 01/15/21 Page 6 of 14 Page ID #:13

                                                                                                                                                 =~ -oo
SHORT TITLE:                                                                                              CAse NUrnsEe:
Pierce v. Dollar Tree Stores                                                                                   2 0AV CV 004 66

       One                                            CAUSE OF ACTI®R(®Premises Liability                                         Page              4
                         (number)
        ATTACHMENT TO ®              Complaint      0     Cross - Complaint
        (Use a separate cause of actlon form for each cause of actlon.)
        Prem.L-1. Plaintiff (name): Anthony Pierce
                    alleges the acts of defendants were the legal (proximate) cause of damages to plaintiff.
                    On (date): 8/6/2018                                plaintiff was injured on the following premises in the following
                          fashion (d.escription of premises and ci.rcumstances of injury):
                           Plaintiff, while in his wheelchair and going down one of Defendant's retail store's aisles,
                           caught his right hand. in a metal display rack that had.been,negligently ownied, managed,
                           inspected, op";ted, and maintained by Defendant, thereby causing Plaintiff to suffer serious
                           personal injuries.



        Prem.L-2.            ®           Count One—Negligence The defendarits who negligently owned, maintained, managed and
                                         operated the described preinises were (names):
                                         Dollar Tree Stores, Inc. and

                                         ®     Does   1                  to   6
         Prem.L-3.                       Count Tvuo—VUiI(ful Failure to Warn [Civil Code section 846] The defendant owners who willfully
                                         or maliciously failed to guard or warn against a dangerous condition, use, structure, or activity,were
                                         (names):



                                         =     Does                      to
                                         Plaintiff, a recreational user, was =   an inyited guest = a paying guesL
         Prem.L-4.                       Count Three—Dangerous Condition of Pubtic Property The defendants who owned public property
                                         on which a dangerous condition existed were (names):



                                                  =     Does                      to
                                         a. [~    The defendant public entity had 0       actual =           constructive notice of the existence of the
                                                  dangerous condition in sufficient time prior to the inju . to have corrected it.
                                                                                                          ry
                                         b- =     The coridition was created by  employees   of the defendant    public entity.
          Prem.L-5. a. ©                 Allegations about Other Defendants The defendants who were the agents and employees of the
                                         other defendants and acted within the scope of the agency were (names):
                                         Dollar Tree Stores, Inc. and

                                         ®       Does 1                  to 10
                          b. 0            The defendants,who are liable to plaintifFs for other reasons and the reasons for their liability are
                                          0    described in attachment Prem.L-5.b 0            as foilows (names):




  Form Approved for Opfional Use                       CAUSE OF ACTION—Premises Liabil ity                                         Code of Cnnl Proceduro, § 425.12
    Judicial Council of Colifomie
                                                                                                                                               wWcy.courtinfo.ca.gov
PLD-PI-001(4) [Rrnr. Jaicuary 1, 2007J
icuonicairy ru_tv o           t:ourt oi t.auioma, t,ounty 01 LOS Hngeie5 On u(7uorcuQ/ u4:Vo rM Onern M. liaRet, cAewuve vu1Uel/lAe1rt ul Wutl, uy 1, rF]eL,UeFJuty lACrn
                            Case 2:21-cv-00422 Document 1-1 Filed 01/15/21 Page 7 of 14 Page ID #:14



                      RONALD J. FOMALONT, Bar No.: 100700
                1     LAW OFFICES OF RONALD J. FOMALONT
                      5850 Canoga Ave., Suite 400
                2     Woodland Hills, CA. 91367
                      Ph: (310) 459-9400 Fax: (818) 992-6138
                3     law@fomalont.com
                4     Attorney for Plaintiff
                5
                                                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
                6
                                                                      COUNTY OF LOS ANGELES
                7     ANTHONY PIERCE,                                                      )
                8
                                                                                           ) CASE NO. 2 ~'~,~ ~~ C~ ~~I. ~ ~
                                 .       Plaintiff,                                        )
                                                                                           ) Department
              9       vs.                                                                  ) Hon.
            lo
                      DOLLAR TREE STORES, INC., and DOES )
            11                                             PLAINTIFF'S DEMAND FOR A JURY
                      1-50, Inclusive,                   ~ TRIAL
            12                                           )
                      Defendants.                          Complaint filed
           13

           14

           15

           16
                      ALL PA.RTIES AND TO THEIR ATTOR.NEYS OF RECORD HEREIN:
           17

           18
                               Plaintiffhereby demands a jury trial in this matter.
           19

           20
                      DATED: July 7, 2020                                   LAW OFFICES OF RONALD J. FOMALONT
           21

           22

           23
                                                                        ~
           24
                                                                            RONALD J. FOMALONT
           25                                                               Attorney for Plaintiff

          26

           27

          28




                                                                 PLAINTtFF'S DBMAND FOR A JURY T(21AI.— 1
              Case 2:21-cv-00422 Document 1-1 Filed 01/15/21 Page 8 of 14 Page ID #:15
                                                                                                    Reserved tor Geri~s Fite Stamp
                 SUPERIOR COURT OF CALIFORNIA
                    COUNTY OF LOS ANGELES
COURTHOUSEADDRESS:                                                                                          F'LED
Michael Antonovich Antelope Valley Courthouse                                                      8t,~,~bt c~ ~~ ~~ ~ ~~ar~,;a
42011 4th Street West, Lancaster, CA 93534                                                           ~~'~lI°~t 1'°sAnggle-s
                                                                                                     07/0812020
                   NOTICE OF CASE ASSIGNIVIENT                                            Shari R~~ ~• Ex'w~e 0€~r t cank °deou,
                                                                                                         ~"m~tfiry J. Pa~:           W~~'
                                                                                           By.
                          UNLIMITED CIVIL CASE

                                                                                    CASE NUMBER:

 Your case is assigned for all purposes to tlre judicial officer indicated below.   20AVCV00466

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT
               ASSIGNED JUDGE               DEPT      ROOM :::                ASSIGNED JUDGE                        DEPT         ROOM
   ✓     Wendy Chang                       A15




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
    on 07/10/2020                                                         By TimothV J. PaeZ                                     , Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGN91ilENT — UNLIMITED CIVIL CASE
LASC Approved 05/06
ctronically FILED by Superior Court of Califomia, County of Los Angeles on 07/08/207tj)AA;if(jQ,%@rri R. Carter, ExecuUve OfflcerlClerk of Court, by T. Paez,Deputy Clerk
                             Case 2:21-cv-00422 Document 1-1 Filed 01/15/21 Page 9 of 14 Page ID #:16
                                                      ttate 8ar number, and eddress);
                                                      : 100700
       5850~anQ~a,Ave Ste 400
       Woo and ul         136
           TELEPHONE NO.:        9 - 9 00                               FAxNo.: (818)992-6138
      AITORNEY FOR (Name): UHy      PierCe
      UPERIOR COURT OF CALIFORtJIA, COUNTY OF LOS
            sTREETADDREss: 42011 4th Street VVest
                                          't West
            MAILINGADDREss: 42011 4th Stref.
           cITYANDZIPCODE: Lancaster. 93534
                                                                                    1rr
       CASE NAME:
      Pierce v. Dollar Tree Stores, Inc.
                                                                                                                         CASE NU6IBER:
            Cli'1flt, CASE COVER StiEET                                     Complex Case Destgnation
                Untimited     F -j        Limited
                                                                                                                            2GAVCV00466
     rxi                                                                =      Counter        =      Joinder
                (Amount                   (Amount                                                                         JUDGE:
                demanded                  demanded is                  Filed with first appearance by defendant
                exceeds $25,000)          $25,000 or less)                 (Cal. Rules of Court, rule 3.402)               DEPT:


        Check one box below for the case type that best describes this case:
           Auto Tort                                               Contract                                      Provisionally Complex.Civil Litigation
                                                                   ~     Breach of contracUwarranty (06)         (Cal. Ruies of Couft, rules 3.4004.403)
        0     Auto (22)
        ~     Uninsured motorist (46)                              0     Rule 3.740 collections (09)             Q      Antitrust/Trade regulation (03)

        Other PIIPDlWD (Personal Injury/Property                   0        Other collections (09)               ~      Construction defect (10)
        DamageNVrongful Death) Tort                                ~        Insurance coverage (18)              0      Mass tort (40)
           0        Asbestos (04)                                  Q     Other contract (37)                     Q      Securities iitigation (28)
           Q        Product liability (24)                         Real Property                                 Q      Environmental/Toxic tort (30)
           Q        Medical maipractice (45)                       Q     Eminent domain/inverse                  0      Insurance coverage claims arising from the
                                                                         condemnation (14)                               above listed provisionaliy compiex case
           ®        Other PIlPD/WD (23)                                                                                  types (41)
                                                                   ~        Wrongful eviction (33)
           Non-PIIPDIWD (Other) Tort
                                                                 Other real property (26)                        Enforcement of Judgment
                    Business to un a r us nes practice (07) 0
                                                            Unlawful Detainer                                    0       Enforcement ofjudgment (20)
           ~        Civil rights (08)
           ~        Defamation (13)                         Q    Commerciai (31)                                 Miscelianeous Civil Complaint
           Q        Fraud (16)                              ~    Residential (32)                                ~       RICO (27)
           Q        Intellectuat property (19)                     L-j      Drugs (38)                           Q       Other compiaint (not specifed above) (42)
           0        Professional negligence (25)                   Judicial Review                               Miscellaneous Civil Petitian
           0        Other non-PI/PDNVD tort (35)                   ~     Asset forf'eiture (05)                  Q       Partnership and corporate governance (21)
                                                                   [~    Petition re: arbitration award (11)      Q      Other petifion' (nof speciried above) (43)
                    Wrongful termination (36)                       [~       Writ of mandate (02)
               _J   Other empio                                     n        Other iudicial review (39)
               This case El is              is not complex under rule 3.400 of the Califomia Rules of CourL If the case is complex, mark the
               factors requiring exceptional judicial management:
               a.        Large number of separately represented parties                   d. =    Large numbei' of witnesses
               b.        Extensive motion practice raising difficult or novel             e. []   Coordination with related actions pending in one or more courts
                         issues that will be time-consuming to resolve                            in other counties; states, or countries; or in a federal court
               c.        Substantial amount of documentary evidence                       f. [] Substantial postjudgment judicial supervision
                                                                                                                         relief                                  c- Q.punitive
      3.       Remedies sought (check all that apply): a.[.O. monetary b.[-I nonmonetary; declaratory or injunctive
      4.       Number of causes of.action (speciiy): One
      5.       This case =       is   0     is not a class action suit
                                                                                                           fonn CM-095.)
      6.       If there are any known related cases, file and serve a nofice of related case. (You may use
      Date:         7"~7            y`aL0
     Ronald J. Fomalont, Esq.

                                                                                                               smail claims cases or cases fled
        . Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except
                                                                                                           Court, rule 3.220.) Failure to .file may result
          under the Probate     Code,  Family Code,  or Welfare  and   Institutions Code).  (Cal. Rules of
             in sanctions.
           e File this cover sheet in addition to any cover sheet required by local court rule,
                                                                                                              a copy of this eover sheet on all
           o If this case is complex under rule 3.400 et seq. of the Califomia Rules of Court, you must serve
             other parties to the action or proceeding.
                                                                                                                     statistical purposes on age 1 of 2
           • Unless this is a collections case under rule 3.740.or a complex case, this cover sheet will be'used for
                                                                                                                               Cal: Rufas or Caairt. rulas 2.80, 3szo, a.aou a.d+uJstd.
                                                                                                                                                                                    . J. r4o;
                                                                                                                                                                                        3.10
       Form Adopted for Mandatory Use                                   CIVIL CASE COVEIZ. ~'HEET                                      Cal. StandarBs of Judlclnt Adminlstiatbn,
           Judlclal Councfl ol Carfamia                                                                                                                              Wwtv.ccudlnlo.ca.gov
           CM-010 tRev. July 1, 2007J
                     Case 2:21-cv-00422 Document 1-1 Filed 01/15/21 Page 10 of 14 Page ID #:17

 SHORT TITLE:                                                                                            CASE NUMBER

Pierce v. Dollar Tree                                                                                I          2 0AVCV 0 04 6 6

                               CIVIL CASE C01lER ShiEET ADDENDUNi AND
                                       STATENaENT OF LOCATION
                (CERTIFICATE OF ('ROUNDS  FOR ASSIGRlNIENT TO COURTHOUSE LOCATION)

                This form is reyuired pursuant to Local Rule 2.3 in all new civil case filings,in the Los Angel.es Superior Gourt.



     Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
             Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


     Step 2: In Column B, check the box for the type of action that best describes the nature of the case.


     Step 3: In Column C, circle the number vuhich explains the reason for the courfi filing location you have
                   chosen.

                                            Applicalole Reasons for Choosing Co.urt Filing Location (Column C)

1.Class actions must be filed in the Stanley Mosk Courthouse, Central District.         7. Location where petitioner resides.
                                                                                        B. Location wherein defendant/respondentfunctions wholiy.
2. Permissive fiiing in central district.
3. Location where cause of aciion arose.                                                9. Location where one or more of the parties reside.

4. Mandatory personal injury filing in North District.                                 10. Location of Labor Commissioner Office.
                                                                                       11. Mandatoryfiling location (Hub Cases—unlawful detainer, limited
5. Location where performance required or defendant resides.                           non-collection, limited collection, or personal injury).
6. Location of property or permanently garaged vehicle.



                                 /~►                                                          B                                                             ~

                      Civil,Case Cover Sheet                                            Type of Aotion..                                       Applicable Reasons -
                           Gategory.. No.                                              (Check,oniy one)                                         See Step 3 Abov.e

                              Auto (22)              ❑    A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death             1, 4, 11

                      Uninsured Motorist (46)        ❑    A7110 Personal Injury/Property Damage/Wrongful Death — Uninsured Motorist        1, 4, 11


                                                     ❑    A6070 Asbestos Property Damage                                                       1, 11
                           Asbestos (04)                                                                                                       1, 11
                                                     ❑    A7221 Asbestos - Personal InjurylWrongful Death


                                                     ❑    A7260 Produot Liability (not asbestos or to)ic/environmental)                        1, 4,11
                        Product Liability(24)

                                                                                                                                               1, 4, 11
                                                     ❑    A7210 Medical Malpractice - Physicians & Surgeons
                     Medical Malpractice (45)                                                                                                  1, 4,11
                                                     ❑    A7240 Other Professional Health Care Malpractice

                                                     ® A7250 Premises Liabili.ty (e.g., slip and fall)                                         1, 4, '17t
                          Other Personal                                                                e/Wron         I Death e.
                                                     ❑    A7230 Intentional Bodily InIury/Property Damag~                     ( 9''            1, 4, 11
                          Injury Property
                                                                assault, vandalism, etc.)
                         Damage Wrongful                                                                                                       1, 4, 11
     O ca                   Death (23)               ❑    A7270 Intentional Infliction of Emotional Distress
                                                                                                                                               1,4,11
                                                      ❑   A7220 Other Personal InjurylProperty DamagelWrongful Death




                                                    CI1iIL CASE COVER SHEET ADDENDIJl31i                                                 Local Rule 2.3
     LACIV 109 (Rev 2/16)
                                                        AND STATEMENT OF LOCATION                                                          Page 1 of 4
     LASC Approved Os-04
                   Case 2:21-cv-00422 Document 1-1 Filed 01/15/21 Page 11 of 14 Page ID #:18

~ SHORTTITLE:                                                                                            CASENUMBER

Pierce v. Dollar Tree Stores                                                                         I             2 GAVC V 0 0 4 6 6
                                                                                                     •. .
                            !q .                                                            B: _.:                                          C:App.licalile : ...,
                  Civil Case,Cover.Sheet                                             Type;of Action                                      Reasons :See Step 3
                        Gategory No: ;                                              (Check-enlyone)                                            Above ` '

                     Business Tort (07)         ❑       A6029 Other Commercial/BusinessTort (not fraud/breach of contract)               1, 2, 3

    ~o                Civil Rights (08)         ❑       A6005 Civil RightslDiscrimination                                                1, 2, 3
    ~r
    o:5
                     Defamation (13)            ❑       A6010 Defamation (slander/tibel)                                                 1, 2, 3
    ~ C,
    c ~                  Fraud (16)             ❑       A6013 Fraud (no contract)                                                        1, 2, 3
    co o
    Q ~S
                                                ❑       A6017 Legal Malpractice                                                          1, 2, 3
                Professional Negligence (25)
    n. ~                                        ❑       A6050 Other Professional Malpractice (not medical or legal)                      1, 2, 3
    co Eca
    zo                                                  A6025 Other Non-Personal InjurylProperty Damage tort                             1, 2, 3
                         Other (35)             ❑


      c          Wrongful Termination (36)      ❑       A6037 Wrongful Termination                                                       1, 2, 3
      m
      E
                                                ❑       A6024 Other Employment Complaint Case                                            1, 2, 3
      0
      c.          Other Employment (15)
      E                                         ❑       A6109 Labor Commissioner Appeals                                                 10
      w

                                                ❑       A6004 Breach of RentallLea'se Contract (not urilawFul detainer or wrongful       2, 5
                                                                eviction)
                Breach of Contract/ Warranty                                                                                             2' S
                                                ❑       A6008 ContractlWarranty Breach -Seller Plaintiff (no fraud/negligence)
                            (06)
                       (not insurance)          ❑       A6019 Negligent Breach of Contract/Warranty (no fraud)
                                                                                                                                         1' 2' S
                                                ❑       A6028 Other Breach of ContractlWarranty (not fraud or negligence)

                                                ❑       A6002 Collections Case-Seller Plaintiff                                          5, 6, 11
                      Collections (09)                                                                                                   5,11
                                                ❑       A6012 Other Promissory Note/Collections C.ase
                                                ❑       A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                 5, 6, 11
                                                              Purchased on or after January 1, 2014
                                                ❑       A6015 Insurance Coverage (not complex)                                           1, 2, 5, 8
                  Insurance Coverage_ (18)

                                                    ❑   A6009 Contractual Fraud                                                           1, 2, 3, 5

                                                    ❑   A6031 Ton5ous Interference                                                        1, 2, 3, 5
                     Other Contract (37)
                                                        A6027 Other Contract Dispute(not breach(nsurance/fraudlnegligence)                1,2,3.8.9
                                                    ❑

                   Eminent Domainllnverse           ❑    A7300 Eminent DomainlConaemnation                  Number of parcels             2.6
                     Condemnation (14)

                                                    ❑    A6023 Wrongful Eviction Case                                                     2,6
                    Wrongful Eviction (33)

                                                    ❑    A6018 Mortgage Foreclosure                                                       2,6

                                                    ❑    A6032 Quiet Title                                                                2,6
                   Other Real Property (26)
                                                    ❑    A6060 Other Real Property (not eminent domain, landlordltenant, foreclosure)     2,6

                Unlawful Detainer-Commetcial        ❑    A6021 UnlawFul Detainer-Commercial (not drugs (ir wrongful eviction)             6,11
                            (31)
                 Unlawful Detainer-Residen6al       ❑    A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)             6,11
                              32
                      UnlawFul Detainer-            ❑    A6020FUnlawful Detainer-Post-Foreclosure                                         2, 6, 11
                     Post-Foreclosure 34
                                                    ❑    A6022 UnlawFul Detainer-Drugs                                                    2, 6,11
                 Unlawful Detainer-Drugs (38)



    IACIV 109 (Rev 2f16)                        CIVIL CASE COVER SHEET R►DDENDUM                                                        Local Kule 2.3
                                                                                                                                           Page 2 of 4
    LASC Approved 03-04                            AN® STATENIENT ()F LOCATION
                  Case 2:21-cv-00422 Document 1-1 Filed 01/15/21 Page 12 of 14 Page ID #:19

SHORT TITLE                                                                                          CASE NUMBER

Pierce v. Dollar Tree Stores                                                                               2 0AV CV 0 04 6 6
                           A                                   :                          B `                                  Applicalile
                 Civil Case,Cover Sheet                                              Type of Actior! ,'                   Reasons See:.Step.3
                  ` Category No.                                                    {Check only one),                           Above '. ".

                  Asset ForFeiture (05)         ❑       A6108 Asset Forfeiture Case                                       2, 3, 6


                Petition re Arbitration, (11)   ❑       A6115 Petition to CompeUConfimVl/acateArbitration                 2,5
    3
    a~
   ~
   ~                                            ❑       A6151 Writ-Administrative Mandamus                                2,8
   ro
   .~                                           ❑       A6152 W rit - Mandamus on Limited Court Case Matter               2
                   W rit of Mandate (02)
    ~a                                          ❑       A6153 Writ- Other Limited Court Case Review                       2
    ~
    ~

                Other Judicial Review (39)      ❑       A6150 Other Writ /Judicial Review                                 2,8


              AntitrustlTrade Regula6on (03)    ❑       A6003 Antitrust/Trade.Regutation                                  1, 2, 8


                 Construction Defect (10)       ❑       A6007 Construction Defect                                         1, 2, 3

                Claims Involving Mass Tort              A6006 Claims Involving Mass Toit                                  1, 2, 8
                                                ❑
                           (40)

                 Securities Litigation (28)     ❑       A6035 Securities Litigation Case                                  1, 2, 8

                        ToxicTort                                                                                         1, 2, 3, 8
                                                ❑       A6036 ToxicTort/Environmental
                    Environmental (30)

               Insurance Coverage Claims        ❑       A6014 Insurance Coverage/Subrogation (complex case onfy)          1, 2, 5, 8
                 from Complex Case (41)

                                                ❑       A6141 Sister State Judgment                                       2, 5, 11

                                                ❑       A6160 Abstract of Judgment                                        2.6
   _= c
                                                ❑       A6107 Confession of Judgment (non-domestic relations)             2,9
   Ea, ~rn             Enforcement
                     of Judgment (20)           ❑       A6140 Administrative Agency Award (not unpaid taxes)              2, 8
         7
                                                ❑       A6114 Petifion/Certificate for.Entry of Judgment on Unpaid Tax    2,8
   w o
                                                ❑       A6112 Other Enforcement of Judgment Case                           2, 8, 9


                         RICO (27)              ❑       A6033 Racketeering (RICO) Case                                     1, 2, 8


                                                ❑       A6030 Declaratory Relief Only                                      1, 2, 8

                                                ❑       A6040 Injunctive Relief Only (not domesfic/harassment)             2,8
                    Other Complaints
                (Not Specified Above) (42)      ❑       A6011 Other Commercial Complaint Case (non-tort/non-complex)       1, 2; 8
   ~~                                           ❑       A6000 Other Civil Complaint (non-tortlnon-complex)                 1, 2, 8


                  Partnership Cotporafion           ❑   A6113 Partnership and Corporate Govemance Case                     2, 8
                      Govemance (21)

                                                    ❑   A6121 Civil Harassment                                             2, 3, 9

                                                    ❑   A6123 Workplace Harassment                                         2, 3, 9

                                                    ❑    A6124 Elder/Dependent Adult Abuse Case                            2, 3, 9
                    Other Petitions (Not
                   Specified Above) (43)            ❑    A6190 Election Contest                                            2

   Ev                                               ❑    A6110 Petifion for Change of Name/Change of Gender                2, 7
                                                    ❑    A6170 Petition for Relief from Late Claim Law                     2, 3, 8

                                                    ❑    A6100 OtherCivilPetition                                          2,9




  LACIV 109 (Rev 2116)                          CIVIL CASE .COVER aHEET AD®END!l61PI                                     Local Rule 2.3

  LASC Approved 03-04                              AN® STATEMENT OF LOCATlON                                               Page 3 of 4
                  Case 2:21-cv-00422 Document 1-1 Filed 01/15/21 Page 13 of 14 Page ID #:20
 SHORTTRLE:                                                                        CASENUMBER
 Pierce v. Dollar Tree Stores                                                                  2 0AV CV 0 04 6 6

Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
            type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
            (No address required for class action cases).

                                                                 ADORESS:
   REASoN:                                                       r041 W. Avenue K
    C11. ❑ 2. ❑ 3. ❑ 4. ❑ 5. ❑ 6.(]7. ❑ 8. ❑ 9. ❑ 10.~11_



   CITY:                                I STATE:   I ZIP CODE:

   Lancaster                             CA         93536

Step 5: Certification of Assignment: I certify that this case is properly filed in the Northern                                District of
            the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and             Rule 2.3(a)(1)(E)].




  Dated: -7      —' --zA Z c,
                                                                               (SIGNATURE OF



                                                                                                            i
                                                                                                            4

  PLEASE HAVE THE .FOLLOWIRlG ITEMS COMPLETED At~D READY TO BE. FILED IN ORDER TO PROPERLY
  C.OMMENCE lfC1UR NEW COURT CASE:                                              I
                                                                                                            {
       1. Original Complaint or Petition.                                                                    j
       2.    If fi(ing a Complaint, a completed Summons form for issuance by the Clerk.                     ;

       3. Civil Case Cover Sheet, Judicial Council form CM-010.                                j
                                                                                               ~
       4. Civi1 Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LAS.0 Approved 03-04 (Rev.
          02/16).                                                                              ;
                                                                                                            i
                                                                         waiver, partial or schedufed payments.
       5. Payment in full of the filing fee, unless there is court orderfor,
       6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff pr petitioner is a
             minor under 18 years of age will be required by Court in order to issue a summons.             {
                                                                                                             i
       7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
             must be served along with the summons arid complaint, or other initiating p(eading in the casir.
                                                                                                           i




                                                                                                                i
   LACIV 109 (Rev 2/16)                  CIVIL CASE C®VER SHEET ADDENDUM                                            Local Rule 2.3
   LASC Approved 03-04                      AND STATEN1ENT OF LOCATI®N                                                 Page 4 of 4
                  Case 2:21-cv-00422 Document 1-1 Filed 01/15/21 Page 14 of 14 Page ID #:21
                                                                                                                                                                "N
                                                                                                                                            POS-015
   ATTORNEY OR PARTY WITHOUT ATTORNEY Name, State Bar number, and address):
 Ronald J. Fomalont, Esq., SBi: 100700
Law Offices of Ronald Fomalont
 5850 Canoga Ave Ste 400
 Woodland Hills, CA 91367
              TELEPHONE NO.: (310)459 - 9400                       FAx NO. (opuonal). (818)992-6138
    E-MAILADDRESS (Optional):law(w,fomalont.com
       ATTORNEY FOR (Name):Anthonv Plerce

   SUPERIOR COURT OF CALIFORNIA, COUNTY OF                      o5 Angeles
             STREETADDRESS:42011 4th Street West
            MAILINGADDRESS:42O11 4llj Jtreet YYe$t
           CITYAND zIP CODE:Lancaster,       93534
                Bw`N°H NAME:Michael Antonovich Antelope Vallev Courthouse

        PLAINTIFF/PETITIONER:Arithoriy Pierce

    DEFENDANT/RESPONDENT:Dollar Tree Stores, Iric.
                                                                                                                 CASE NUMBER:
                      NOTICE AND ACKNOWLEDGMENT OF RECEIPT—CIVIL                                                         20AVCV00466

TO (insert name of parfy being served): Dollar Tree Stores, Inc.

                                                                  NOTICE
    The summons and other documents identif[ed below are being served pursuant to section 415.30 of the California Code of Civil
    Procedure. Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
    (or the party on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a summons
    on you in any other manner permitted by law.
    If you are being served on behalf of a corporation, an unincorporated association (including a partnership), or other entity, this
    form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
    entity. In all other cases, this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
    summons. If you return this form to the sender, service of a summons is deemed complete on the day you sign the
    acknowledgment of receipt below.

     Date of mailing:1-6-2021

       Ronald J. Fomalont                                                               '
                                   (TYPE OR PRINT NAME)                                     (S                ER—MUST NOT BE A PARTY IN THIS CASE)


                                                          ACKNOWLEDGMENT OF RECEIPT
    This acknowledges receipt of (to be completed by sender before mailing):
    I. ®      A copy of the summons and of the complaint.
    2. ®           Other (specify):
         Plaintiff s Demand for a Jury Trial
         Notice of Case Assignment


    (To be comp/eted by recipfent):

    Date this form is signed: /K


   X                                                                              ' ~
                 (TYPE OR PRINT YOUR NAME AND NAME OF ENTITY, IF ANY,                     (SIGNATURE OF PERSON ACKNOWLEDGING RECEIPT, WITH TITLE IF
                        ON WHOSE BEHALF THIS FORM IS SIGNED)                           ACKNOWLEDGMENT IS MADE ON BEHALF OF ANOTHER PERSON OR ENTITY)



                                                                                                                                                Page 1 of 1
Fonn Adopted for Mandatory Use                                                                                                       Code of Civil Procedure,
  Judicial Council of Calitornia          NOTICE AND ACKNOWLEDGMENT OF RECEIPT — CIVIL                                                    §§ 415.30, 417.10
POS-015 [Rev. January 1, 2005]                                                                                                         www.courfinfo.ca.gov
